     Case 2:03-cr-00761-RSWL Document 159 Filed 03/15/10 Page 1 of 1 Page ID #:468



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 7                      UNITED STATES DISTRICT COURT
 8                     CENTRAL DISTRICT OF CALIFORNIA
 9
10 UNITED STATES OF AMERICA,               )   CR 03-761 RSWL
                                           )
11                     Plaintiff,          )
                                           )   ORDER
12         v.                              )
                                           )
13                                         )
     PAUL PETERSON,                        )
14                                         )
                                           )
15                     Defendant.          )
                                           )
16                                         )
17         The Court is in receipt of Defendant’s Motion to
18 Enforce Order Recommending Placement in a Residential
19 Re-Entry Center Pursuant to 18 U.S.C. § 3621(b)(4)
20 [158].       The Government is ordered to file its position
21 papers no later than April 2, 2010.                 The matter will
22 then be taken under submission.
23
24 IT IS SO ORDERED.
25 Dated: March 15, 2010
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                                  HONORABLE RONALD S.W. LEW
27
                                  Senior, U.S. District Court Judge
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